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                                                                    Honorable Thomas S. Zilly
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12                                U.S. DISTRICT COURT

13                     FOR THE WESTERN DISTRICT OF WASHINGTON

14
          STRIKE 3 HOLDINGS, LLC, a           Case No. 2:17-cv-01731-TSZ
15        Delaware corporation,
                                              DEFENDANT’S MOTION FOR A
16               Plaintiff,                   MORE DEFINITE STATEMENT
                                              ON PLAINTIFF’S FIRST
17
                 vs.                          AMENDED COMPLAINT IN
18                                            VIEW OF THIS COURT’S ORDER
          JOHN DOE, subscriber assigned IP    AT DOCKET 36
19        address 73.225.38.130,
                                              FRCP 12(e)
20               Defendant.
                                              NOTING DATE: August 10, 2018
21

22                                            ORAL ARGUMENT REQUESTED

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27
     DEFENDANT’S MOTION FOR A MORE DEFINITE
     STATEMENT ON PLAINTIFF’S FIRST AMENDED
                                                                    EDMONDSON IP LAW
     COMPLAINT IN VIEW OF THIS COURT’S ORDER AT            Venture Commerce Center, 3699 NE John Olsen Ave
     DOCKET 36 - PAGE 1                                                 Hillsboro, Oregon 97124
                                                                 TEL. 503.336.3749  FAX 503.482.7418
     CASE NO. 2:17-CV-01731-TSZ
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                                        NOTICE OF MOTION
 1
           Defendant John Doe (“Doe”), requests the Court mandate Strike 3 Holidngs, LLC
 2
     (“Strike 3”) to provide a more definite statement under FRCP 12(e). in that the FAC does not
 3
     answer three key questions posed by this Court in sufficient detail
 4         This motion will be heard in the United States District Court, for the Western District of
 5   Washington, 700 Stewart St, Seattle, WA 98101, Suite 15229 before the Honorable Thomas J.

 6   Zilly, pursuant to the Local Rules, LRC 7(d)(3) for a fourth Friday noting date.

 7
                       MEMORANDUM OF POINTS AND AUTHORITIES
 8

 9
     I. PREFACE
10         Strike 3 has sued close to 1000 IP Addresses over the last year. Each of these cases has
11   alleged copyright infringement based in a detection of “pieces” of digital files by an
12   infringement detection software called “International IP Tracker”. (FAC, Dckt 43, ¶25),

13   developed by IPP International U.G., a German company. Strike 3 claims that the system is
     “not only accurate, but superior to similar software law enforcement uses”. Id.
14
           This same infringement detection software has formed the basis of numerous other
15
     copyright infringement cases, most notably the Malibu Media cases where over 6,000 IP
16   Addresses have been sued using data generated by International IP Tracker. However, this
17   software not been built, tested, validated, or verified according to an accepted NIST forensic
18   software testing protocols. (See https://www.nist.gov/itl/ssd/software-quality-group/computer-

19   forensics-tool-testing-program-cftt).
           This motion for a more definite statement is filed because Strike 3’s FAC did not
20
     adequately address the Court’s questions in its Order granting Doe’s Motion for a More
21
     Definitive Statement. (Dckt 36).        Doe respectfully requests that the Court’s concerns and
22   questions be answered, especially as they relate to an overseas computer system that is used to
23   drag consumers into numerous federal courts across this country.
24

25   II. INTRODUCTION
           Strike 3’s FAC filed on July 3, 2018, Dckt 43, is non-responsive to this Court’s order for
26
     a more definitive statement.
27
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             Firstly, the FAC is notably deficient in that it fails to plead that the pieces downloaded
 1
      from Doe’s IP address are, or contain renderable, viewable versions of Strike 3’s copyrighted
 2
      works or any portion thereof. To the contrary, Strike 3 now admits that it is unable to capture
 3
      the full, or a playable portion of its motion picture. Dckt 43, ¶ 42.
 4           Secondly, the FAC fails to provide sufficient details concerning the software and
 5    hardware used by Strike 3’s investigator, or to identify several crucial components and

 6    operational characteristics essential to evaluating IPP’s torrent monitoring system,
      “International IP Tracker”.
 7
             Lastly, Strike 3 has failed to allege sufficient link between defendant and the IP address
 8
     at issue.
 9
             For the reasons stated below, Doe respectfully requests the Court mandate that Strike 3
10    provide a more definitive statement on how its investigation of the alleged infringement was
11    conducted.
12

13 III. STATEMENT OF FACTS
            On November 16, 2017, Strike 3 filed a Complaint alleging that Doe stole “on a grand
14
     scale” a number of adult movies distributed by Strike 3. Dckt. No. 1 at ¶ 4. Strike 3 claims that
15
     Doe stole these “Works” using “the BitTorrent protocol,” and that Doe not only downloaded
16   the Works, but also distributed them to others. Id. Strike 3 further alleges that “Defendant
17    attempted to hide this theft by infringing Strike 3’s content anonymously,” but that Strike 3
18    connected Doe to IP Address 73.225.38.130. Id. at ¶5.

19           Doe filed a motion for a more definitive statement. Dckt 21. This Court granted the
      motion for a more definitive statement and ordered that a FAC be filed. Dckt 21.
20

21
     IV. ARGUMENT
22
             A. THE COURT HAS DISCRETION TO COMPEL STRIKE 3 A SECOND TIME TO MAKE A
23               MORE DEFINITE STATEMENT REGARDING ITS TECHNOLOGY UNDER FRCP 12(E)
24           A motion for more definite statement should be granted if the complaint fails to give the

25    defending party notice of the substance of the claim against them, Beery v. Hitachi Home
      Electronics (America), Inc., 157 F.R.D. 477, 480 (C.D. Cal. 1993) (internal citations omitted).
26
      Moreover, “the judge may in his discretion, in response to a motion for more definite statement
27
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     under Federal Rule of Civil Procedure 12(e), require such detail as may be appropriate in the
 1
     particular case, and may dismiss the complaint if his order is violated.” Isomedia, Inc. v.
 2
     Spectrum Direct, Inc., No. C08-1733JLR, 2009 WL 10676390, at *1 (W.D. Wash. Mar. 26,
 3
     2009) (citing McHenry v. Renne, 84 F.3d 1172, 1179 (9th Cir. 1996)).
 4           While a plaintiff may make out the allegations of infringement that satisfy Twombly, the
 5   Court is not bound to accept the form the plaintiff’s complaint. For example, in Jane Doe v

 6   Cassel the Eight Circuit said that a District Court has all tools available under the FRCP to
     counteract “at the mercy of overly aggressive plaintiffs." Doe v. Cassel, 403 F.3d 986, 2005
 7
     WL 820355 (8th Cir., 2005). Strike 3 is one such overly aggressive plaintiff, whose actual
 8
     damages amount to less than $ 100, but asks for statutory damages in the millions.
 9
             Strike 3’s FAC still does not explain the basis for its allegations, let alone provide any
10   certification or assurance that its investigatory processes eliminate false positives, an area of
11   concern this Court recently identified. See Venice PI, LLC. v. Sean O’Leary, et al. Case 2:17-
12   cv-00988-TSZ, Dckt. No. 32 (W.D. Wash. Jan. 8, 2018) (rejecting testimony of high-school-

13   educated Benjamin Perino, who “does not have the qualifications necessary to be considered an
     expert in the field in question, and his opinion that the surveillance program is incapable of error
14
     [e.g. false positives] is both contrary to common sense and inconsistent with plaintiff’s
15
     counsel’s conduct in other matters in this district.”) (“O’Leary”).
16           Doe respectfully requests this Court issue an order for a more definitive statement on the
17   precise process on how Strike 3 arrives at a determination that a case for infringement can be
18   made.

19
             B. STRIKE 3 FAILED THE ANSWER THE THREE QUESTIONS POSED BY THE COURT IN
20
                IT’S ORDER FOR A MORE DEFINITIVE STATEMENT
21
             A party may move for a more definite statement if the pleading is so vague or ambiguous
22   that the party cannot reasonably prepare a response. Fed. R. Civ. P. 12(e). A motion for a more
23   definite statement attacks the unintelligibility of a pleading. Neveau v. City of Fresno, 392
24   F.Supp.2d 1159, 1169 (E.D. Cal. 2005).

25           In its Order, the Court highlight three particular areas where Strike 3’s Complaint was
     deficient: (Dckt 36)
26
27
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                “plaintiff does not plead that the pieces of the files downloaded from defendant’s IP
 1
                 address are or contain renderable, viewable versions of plaintiff’s copyrighted works
 2
                 or any portions thereof”.
 3
                “the operative pleading offers no detail concerning what software or hardware was
 4               used by plaintiff’s investigator to harvest the pieces of the digital media files at issue”
 5              “the Court is unpersuaded that plaintiff has alleged a sufficient link between
 6               defendant and the IP address at issue”

 7           The Court required Strike 3 to file an amended complaint addressing the deficiencies
      outlined. As laid out below, Strike 3 has failed to address these deficiencies.
 8

 9
                 i) Strike 3 has not plead that the pieces of the files downloaded from
10                  defendant’s IP address are or contain renderable, viewable versions of
                    plaintiff’s copyrighted works or any portions thereof
11

12           Strike 3’s claim for copyright infringement is based on the allegation that Doe copied
13   and distributed its copyrighted works, however as the Court noted in its Order, the complaint
     pleads that Strike 3’s investigator obtained only one or more pieces of the digital media files
14
     listed on Exhibit A from defendant’s Internet Protocol (“IP”) address, and Strike 3 does not plead
15
     that the pieces of the files downloaded from Doe’s IP address are or contain renderable, viewable
16
     versions of plaintiff’s copyrighted works or any portions thereof.
17           In the FAC, Strike 3 admits that it does not have evidence that Doe downloaded complete
18   copies of its works and that the pieces it has linked to Doe’s email address are not renderable,
19   viewable versions of plaintiff’s copyrighted works or any portions thereof. These new statements

20   stand in stark contrast to statements made in Strike 3’s original complaint, and in the documents
     filed to supports its initial ex parte request for early discovery.
21
     ///
22
     ///
23   ///
24   ///
25   ///

26   ///
     ///
27
     DEFENDANT’S MOTION FOR A MORE DEFINITE
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                         Original Filings                                      FAC – Dckt 43
 1
            Complaint – Dckt 1      Fieser Decl - Dckt 4-3
 2
        ¶ 27 – Defendant                ¶ 9 – IPP’s software         ¶ 32 - The transactions
 3      downloaded, copied, and         additionally analyzed        recorded in PCAPs, contain
        distributed a complete          each BitTorrent “piece”      information about the .torrent
 4      copy of Plaintiff’s Works       distributed by               file,
 5                                      Defendant’s IP Address.      piece hash, BitTorrent client
                                        It verified that             used by Defendant and time
 6                                      reassembling the pieces      the transaction took place,
                                        using a specialized          among
 7                                      BitTorrent client results    other information
                                        in a fully playable
 8                                      digital movie.               ¶ 34 - The
 9                                                                   PCAP is a snapshot of the
                                                                     entire download as a whole
10                                                                   and does not contain the
                                                                     completed and
11                                                                   viewable motion picture.
12                                                                   ¶ 39 - Discovery will likely
13                                                                   show that Defendant illegally
                                                                     downloaded and obtained a
14                                                                   full copy of Plaintiff’s
                                                                     motion picture
15
                                                                     ¶ 42 - Plaintiff is unable to
16
                                                                     capture the full, or a
17                                                                   playable portion of its
                                                                     motion picture
18                                                                   from Defendant

19

20              ii) Strike 3 offers no detail concerning what software or hardware was used by
                    plaintiff’s investigator
21

22          Bittorrent forensics is extremely complex [RJN 1, RJN 2]. One must record the swarm
23   characteristics to know if the swarm itself if capable of delivering the infringed file (swarm

24   integrity), then test and validate the computer system that records the torrent data (monitoring
     data integrity), one must test and validate the production of forensic files for third party analysis
25
     (evidentiary data integrity and chain of custody). Each step in the process can be the subject of
26
     data corruption.
27
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            While Strike 3 has attempted to create the appearance of providing more data, the
 1
     information in the FAC regarding the infringement detection system raises more questions than
 2
     it answers, for example:
 3
                   Strike 3 refers to a “data collection system”. Dckt 43, ¶ 26.
 4                     o What is the architecture of this data collection system?
 5                     o How many processing nodes are used?
 6                     o What IP Addresses do the nodes operate on.

 7                     o What is the bandwidth of each node.
                       o What is overall error rate of the Data Collection System (daily, weekly,
 8
                           quarterly, monthly)
 9
                   Strike 3 refers to a “proprietary BitTorrent client”. Dckt 43, ¶ 26.
10                     o When was this software coded?
11                     o    Who coded this Client?
12                     o Who validated Client?

13                     o Who designed the Client?
                   Strike 3 makes reference to IPP’s BitTorrent client entering the BitTorrent swarm.
14
                    Dckt 43, ¶27
15
                       o    Does IP Tracker monitor the swarm duration?
16
                       o What packets does IP Tracker capture and what packets are thrown away?
17                     o What PCAP capturing software was used?
18          These questions should be addressed in order to enable one to assess the validity of the
19   system used to detect alleged infringements. Indeed these questions should be easily answerable,

20   Strike 3’s own investigator has previously provided this information in other matters.
            Six years ago, on June 6, 2012, Tobias Fieser provided a “Functional Description” of IPP
21
     International IPTracker V.2.1. RJN 3. This document, submitted in that case to support the
22
     plaintiff’s request for early discovery, contains more detail about how the IP Tracker system
23   worked than Strike 3’s FAC, and indeed its ex parte request for early discovery in this matter.
24          Six years later, and despite a specific request from the Court, Strike 3 has failed to
25   produce a systems specification, a systems diagram, user manuals, user guides, or anything else

26   that would allow someone to assess the validity of the infringement detection system.

27
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            The information provided by Fieser in 2012 was analyzed by an independent expert, who
 1
     concluded that the that the International IP Tracker code is assembled piece-meal from other
 2
     code, it was never designed to or verified by either NIST or IEEE Specifications, it contained
 3
     many defects and that there is no evidence that it operates reliably. RJN 4.
 4          This Court asked that Strike 3 provide sufficient detail in their first amended complaint
 5   that would allow a defendant to determine the characteristics of the “bittorrent tracking system”

 6   that has been monitoring. But Strike 3’s FAC raises more questions than are answered.
            The accuracy of Strike 3’s detection system is further called in question by the
 7
     unexplained inconsistencies between the FAC and the original complaint. In the original
 8
     complaint there were 80 works allegations of infringement, now there are 87.                   Eight works
 9
     were withdrawn from the complaint and fifteen new, completely different, works were added.
10   Rockenstein Declaration ¶¶5-8. Inconsistencies between the exhibits filed with the original
11   complaint and that filed with the FAC suggest a false-positive rate of between 10%-17%.
12   Rockenstein Declaration ¶¶9-11. This suggests an inaccurate data gathering system was used to

13   generate the ‘Exhibit A’ (remember this ‘system’ is used file over a thousand lawsuits).
     Rockenstein Declaration ¶¶12, 13.       There is no explanation as to “how’ or ‘why” these
14
     discrepancies occur.
15
            The Court asked for details regarding the infringement detection system processes. No
16   such detailed documentation was provided in the FAC.
17

18              iii) Strike 3 does not allege a sufficient link between Doe, the IP address and the
                     infringement
19

20          The problem with technology employed by Strike 3 is that almost every consumer of

21   internet services provided by an ISP is also provided a router (usually WiFi) where up to 250
     devices can connect simultaneously, each device being mapper to a single IP address provided
22
     by the ISP.     (see https://www.lifewire.com/how-many-devices-can-share-a-wifi-network-
23
     818298). Thus, while the ISP account holder may have a computer connected to the router, it is
24
     just as likely the next door neighbor has used his account for the downloading of the works at
25

26
27
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     issue. See AF Holdings LLC v. Rogers, No. 12cv1519 BTM(BLM), 2013 WL 358292, at *2 (S.D. Cal.
 1
     Jan. 29, 2013)1.
 2
              Strike 3 and their German “consultants” or “private investigators” do not address this
 3   issue except by stating that a correlation exists between the apparent termination of the infringing
 4   activity activity upon filing of the original complaint (See FAC, ¶¶50, 51). This argument fails
 5   on three grounds. First, this case was filed on 11/16/2017, an inspection of Exhibit A to the FAC,

 6   Dckt 43-1, clearly shows that three works were allegedly infringed after this date (Work 56
     (11/22/17); Work 61 (11/30/2017), and Work 70 (12/1/2017)). Second, the IP address may have
 7
     been reassigned by the ISP during that time period. Finally, anyone getting notice of a lawsuit
 8
     involving their internet services is likely to change their password just like any prudent person
 9   getting a fraudulent transaction notice on their credit card is likely to cancel their credit card.
10            The casual link alleged by Strike 3, while an allegation, must be supported realistic facts
11   and cannot be conclusory in nature. See Bldg. 11 Investors LLC v. City of Seattle, 912 F.Supp.2d

12   972, 978 (W.D. Wash., 2012) stating ““Factual allegations must be enough to raise a right to
     relief above the speculative level.” No such facts are present in the FAC.
13

14
                                            V. CONCLUSION
15
              If this were a case for copyright infringement with a claim of actual damages tied to
16   failing to pay the $ 30 subscription monthly fee to the Blacked, Tushy, and Vixen websites, then
17   the actual damages would amount to less than $ 2,000.002. But, Doe, a retired police officer, has
18   been sued for statutory damages where Strike 3 has claimed they are entitled to over $ 13 Million
     in damages3 based on evidence generated by demonstrably inaccurate software.
19

20
     1
       ("[J]ust because an IP address is registered to an individual does not mean that he or she is
21   guilty of infringement when that IP address is used to commit infringing activity."). "While it
     is possible that the subscriber is also the person who downloaded the movie, it is also possible
22
     that a family member, a resident of the household, or an unknown person engaged in the
23   infringing conduct." Cobbler Nevada, LLC v. Gonzales, No. 3:15-cv-866-SB, 2016 WL
     3392368 (D. Or. June 8, 2016) (dismissing claim where plaintiff did not allege specific facts
24   tying defendant to infringing conduct). "Due to the risk of `false positives,' an allegation that an
     IP address is registered to an individual is not sufficient in and of itself to support a claim that
25   the individual is guilty of infringement." AF Holdings LLC, 2013 WL 358292, at *3.
26   2
         $30 per month. Subscription for a one year = $360.00. For 3 websites = $360*3 = $1,080.00
     3
27       $150, 000.00 per work = 150,000.00 * 87 = $13, 050, 000.00.
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            Strike 3 has filed approximately 1000 cases relying on this software, assuming an average
 1
     of 50 infringements claimed per case, the amount of damages that Strike 3 is claiming ranges
 2
     from 37,500,000.00 to 7,500,000,000.00 ($7.5B USD) – all against subscribers to alleged IP
 3
     addresses.
 4          Given that the allegations in the FAC are markedly different and in some cases
 5   inconsistent with the original complaint, and we have no more detailed information (accuracy,

 6   throughput, validation, etc.) about the IPP software, Doe has no more information in the FAC
     than he did in the original complaint4.
 7

 8          In light of the arguments presented above, Doe respectfully requests that Strike 3 provide
 9   a more definitive statement on how its investigation of the alleged infringements was conducted.

10

11   Respectfully submitted on July 17, 2018 by:     /s/   J. Curtis Edmondson
12
                                                   J. Curtis Edmondson, WSBA #43795
13                                                 3699 NE John Olsen Avenue
                                                   Hillsboro, Oregon 97124
14                                                 Telephone: (503) 336-3749
                                                   Email: jcedmondson@edmolaw.com
15

16                                                 Attorney for Defendant
17

18

19

20

21

22

23

24

25   4
      Order at Dckt 36 - … The question is whether the complaint is “so vague or ambiguous” that
     defendant “cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e). The Court agrees with
26   defendant that the operative pleading does not contain sufficient information to provide him
27   with notice concerning what copyrighted material was allegedly infringed…
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                                    CERTIFICATE OF SERVICE
 1

 2
             I, J. Curtis Edmondson, hereby certify that on July 17, 2018, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
     such filing to the following:
 4

 5
                    Bryan J. Case, WSBA #41781
 6                  Email: bcase@foxrothschild.com
                    FOX ROTHSCHILD LLP (SEATTLE)
 7                  1001 Fourth Avenue, suite 4500
                    Seattle, Washington 98154
 8                  Telephone: (206) 624-3600
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11                  10250 Constellation Blvd., Suite 900
                    Los Angeles, California 90067
12                  Telephone: (310) 598-4150
13
                    Attorneys for Plaintiff Strike 3 Holdings LLC
14

15          DATED this 17th day of July, 2018.
16

17                                           By:      /s/ J. Curtis Edmondson
                                                   J. Curtis Edmondson
18

19

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                                                                             EDMONDSON IP LAW
                                                                    Venture Commerce Center, 3699 NE John Olsen Ave
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